                           UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF NORTH CAROLINA
                                STATESVILLE DIVISION
                               5:14CR72-RLV-DSC-4


UNITED STATES OF AMERICA,                      )
                                               )
                        Plaintiff,             )
                                               )
                                               )              ORDER
                                               )
SALOMAN MALDONADO,                             )
                                               )
                        Defendant.             )



      This MATTER is before the Court on its own Motion to administratively close the case as

to SALOMAN MALDONADO. The defendant appears to remain a fugitive with no activity

taking place in this case in recent times.

      It is, therefore, ORDERED that this case be deemed closed for administrative purposes

only, subject to re-opening upon the apprehension or appearance of the defendant.



Signed: March 2, 2017




    Case 5:14-cr-00072-KDB-SCR               Document 466   Filed 03/02/17     Page 1 of 1
